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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

ISIDRO BARICUATRO, ET AL.                                            CIVIL ACTION


VERSUS                                                               NO. 11-2777


INDUSTRIAL PERSONNEL AND                                             SECTION “N” (2)
MANAGEMENT SERVICES, INC., ET AL.


                                           ORDER

               Considering Defendant's Motion to Expedite Hearing on Defendants' Motion to

Vacate/Dissolve Preliminary Injunction (Rec. Doc. 90),

               IT IS ORDERED that the motion is GRANTED. The Court will hear oral argument

on Defendants' Motion to Vacate/Dissolve Preliminary Injunction (Rec. Doc. 88) on Thursday, July

19, 2012 at 9:00 a.m.

               IT IS FURTHER ORDERED that the submission date on Defendants' Motion for

Protective Order Prohibiting Plaintiffs' Counsel from Soliciting Putative Class Members to Join this

Matter, Except by Means of Court-Approved Notice (Rec. Doc. 93) is RESCHEDULED for

Thursday, July 19, 2012 at 9:00 a.m. The Court will hear oral argument on this motion at that

time.
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              Counsel are instructed to advise the Court by Friday, July 13, 2012 at 9:00 a.m.

whether an evidentiary hearing will be necessary for the determination of these motions.



              New Orleans, Louisiana, this 12th day of July, 2012.



                                                    _________________________________
                                                         KURT D. ENGELHARDT
                                                        United States District Judge
